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11
10    CORY LIGUORE
12
11
13                    UNITED STATES DISTRICT COURT FOR THE
12
14                      NORTHERN DISTRICT OF CALIFORNIA
13                                       Case No.: ___________________
15
14
16                                             COMPLAINT FOR
       CORY LIGUORE,
15
17                                               1. Cyberpiracy Protection for
16                                                  Individuals (15 U.S.C. §
18
                                                    8131(1)(A))
17
19                   Plaintiffs,
                                                 2. Cyber Piracy (Cal. Bus. & Prof.
20
18                                                  Code § 17525)
21                                               3. Civil Harassment (Cal. Civ.
19
               v.                                   Code § 1708.7)
22
20                                               4. Disorderly Conduct - Cyber
23
21                                                  Exploitation (Cal. Penal Code §
24     KENDALL SIMMONS and 7+6                      647)
22                                               5. Intentional Infliction of
25     MANAGEMENT, LLC,
23
26
                                                    Emotional Distress
                                                 6. Negligent Infliction of
24
27
                                                    Emotional Distress
25
28                                               7. Unfair Competition (Cal. Bus.
26                   Defendants.                    & Prof. Code § 17200 et seq.)
27                                             JURY TRIAL DEMANDED
28                                             Date: March 15, 2024

                                          1                     Plaintiff’s Complaint &
                                                                 Demand for Jury Trial
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 11         For their Complaint against the KENDALL SIMMONS and 7+6
 2
 2    MANAGEMENT, LLC (“Defendants” or “Mr. Simmons”), Plaintiff, CORY
 3
 3    LIGUORE (“Plaintiff” or “Mr. Liguore”), allege the following:
 4
 4                                   NATURE OF ACTION
 5
 56         1.     Plaintiffs bring this action for economic, non-economic, compensatory,
 67   injunctive relief, and punitive damages on substantive claims for violation of
 78   Cyberpiracy Protection for Individuals under the Anti-Cybersquatting Consumer
 89   Protection Act (“ACPA”) (15 U.S.C. § 8131(1)(A)), Cyber Piracy (Cal. Bus. & Prof.
10
 9    Code § 17525), Civil Harassment (Cal. Civ. Code § 1708.7), Disorderly Conduct
11
10    (Cal. Penal Code § 647), intentional infliction of emotional distress, and negligent
12
11    infliction of emotional distress, civil harassment and Unfair Competition (Cal. Bus. &
13
12    Prof. Code § 17200 et seq.) incurred by the Defendants’ unlawful acts resulting in the
14
13    unauthorized and distressing use of Plaintiff’s likeness and identification on a
15
14
16
      fraudulent impersonation website.
15
17                                        THE PARTIES
16
18       1. The Plaintiff, CORY LIGUORE (“Plaintiff” or “Mr. Liguore”), is a resident of
17
19    Pleasanton, California.
20
18       2. The Plaintiff has previously owned and used an account on a social video chat
21
19    and dating application, Fuzz, on which Plaintiff would only live stream to public
22
20    audiences or to private individuals by invitation only. The Plaintiff has also owned
23
21    and used an educational YouTube channel under his real name.
24
22       3. The Defendants KENDALL SIMMONS and 7+6 MANAGEMENT, LLC
25
23
26
      (collectively “Defendants”) are an individual KENDALL SIMMONS who, on
24
27    information and belief from investigative efforts conducted thus far in this suit, to
25
28    resides in Villa Park, Illinois, and controls and is the primary decision-maker for the
26    company 7+6 MANAGEMENT, LLC. Mr. Simmons is the individual responsible
27    for the use and public dissemination of the Plaintiff’s name, likeness, intimate photos
28    from the Plaintiff’s Fuzz, and personal resume information from the Plaintiff’s

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                                                                       Demand for Jury Trial
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 11   LinkedIn account and YouTube channel, without the Plaintiff’s notice or consent, to
 2
 2    create websites wherein Defendants impersonates Mr. Liguore and posts intimate
 3
 3    photos of Mr. Liguore for any person in the public to view. On information and
 4
 4    belief, based upon preliminary investigation, the company either does not truly exist
 5
 56   (at least not as an Illinois or Delaware LLC), or if it does exist then it has profited
 67   from Mr. Simmons’ activities alleged herein.
 78      4. The Defendants are collectively responsible for using Mr. Liguore’s name as
 89   the domain name on which the fraudulent activities occurred, <coryliguore.com> (the
10
 9    “Domain”), resulting in Mr. Liguore being dismissed by his employer on November
11
10    13, 2023, under his employer’s belief and assertion that Mr. Liguore had created the
12
11    Domain and posted intimate photos of Mr. Liguore for public viewing. The day that
13
12    Mr. Liguore was fired was also the first day that he became aware of any use of his
14
13    name, intimate photos, or personal information on any website by Defendants.
15
14
16
         5. Plaintiff has suffered severe emotional and physical stress as result of the
15
17    publication and discovery of the website, which violates his privacy and from his
16
18    being fired by his employer which relied on the Domain and website as being
17
19    published by Mr. Liguore rather than the responsible Defendants.
20
18                               JURISDICTION AND VENUE
21
19       6. This Court has subject matter jurisdiction over the Plaintiff’s claims for
22
20    violation of the Anti-Cybersquatting Consumer Protection Act (“ACPA”) under 15
23
21    U.S.C. § 1121, and 28 U.S.C. §§ 1331 and 1338(a).
24
22       7. This Court has diversity subject matter jurisdiction under 28 U.S.C. §§ 1332
25
23
26
      because, on information and belief, this action is between citizens of different states
24
27    and the monetary amount in controversy exceeds $75,000, exclusive of interest and
25
28    costs.
26       8. The Court has supplemental jurisdiction over the common law claims alleged
27    herein pursuant to 28 U.S.C. § 1367(a) because the state claims and federal claims
28    are so related that they form part of the same case or controversy.

                                               3                        Plaintiff’s Complaint &
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 11      9. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
 2
 2    substantial parts of the events giving rise to Plaintiff’s claims in this suit occurred in
 3
 3    the Northern District of California.
 4
 4                                 GENERAL ALLEGATIONS
 5
 56      10. In early 2018, Plaintiff CORY LIGUORE owned and used an account, on a
 67   social video chat and dating application, Fuzz, on which Plaintiff would only live
 78   stream to public audiences or to private individuals by invitation only. The Fuzz
 89   Application was described and purportedly designed to be a secure application on
10
 9    which no media or information could be recorded or saved to users’ personal devices.
11
10       11. The Defendant KENDALL SIMMONS contacted Mr. Liguore through the
12
11    private chat function on the Fuzz application in the summer of 2018, asking about the
13
12    possibility of being Mr. Liguore’s roommate. Mr. Liguore refused the Defendant’s
14
13    request due to their being strangers at the time. Despite Mr. Liguore’s rejection, the
15
14
16
      Defendant insisted that Mr. Liguore provide his personal cell phone number, and in
15
17    response and fear of further uncomfortable requests, Mr. Liguore ceased any private
16
18    communications with the Defendant.
17
19       12. The Fuzz application was later removed from the application store and all
20
18    services ceased to all accounts and users at the end of 2018.
21
19       13. On October 30, 2018, Plaintiff started and began publishing, on his YouTube
22
20    channel, educational and career-related videos for audiences who felt stuck in their
23
21    jobs and desired to improve their work-related skills and achieve financial freedom.
24
22       14. On information and belief, Defendant SIMMONS persisted in his pursuit of
25
23
26
      the Plaintiff’s personal information and social media accounts by leaving public
24
27    comments, as the account holder named “@yfroggy13”, on the Plaintiff’s YouTube
25
28    Channel referencing the public and private content that Plaintiff had shared on the
26    Fuzz application, content which was wholly unrelated to the content of the Plaintiff’s
27    YouTube Channel used for educational and career-related purposes.
28

                                               4                        Plaintiff’s Complaint &
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 11      15. Later in November of 2018, Mr. Liguore deleted the educational and career-
 2
 2    related YouTube channel and began a new channel. Around the same time, Mr.
 3
 3    Liguore blocked the YouTube account belonging to the Defendant “@yfroggy13”
 4
 4    from the new YouTube Channel that Mr. Liguore started, so as to avoid the
 5
 56   Defendant finding the new account. Mr. Liguore also blocked the Defendant’s two
 67   known Instagram accounts from seeing or accessing any content from Mr. Liguore’s
 78   personal Instagram account at this time.
 89      16. On October 21, 2023, Defendants KENDALL SIMMONS and 7+6
10
 9    MANAGEMENT, LLC, registered the domain name <coryliguore.com> and
11
10    published on the domain a website containing information from Mr. Liguore’s
12
11    resume and intimate content that was screenshot or screen recorded from his long-
13
12    inactive Fuzz application profile, without Mr. Liguore’s knowledge or consent. The
14
13    website represents Mr. Liguore as the publisher and host of the domain name, which
15
14
16
      was and is false. The meta description provided in the search results of Mr. Liguore’s
15
17    name started by producing the results “Cory Liguore slut.”
16
18       17. On November 13, 2023, Mr. Liguore was given notice of termination by his
17
19    employer, who cited the content displayed on the domain name <coryliguore.com> as
20
18    the reason for his termination. The meeting with his employer regarding Mr.
21
19    Liguore’s termination was the first time he was made aware of the domain name and
22
20    its content. To Mr. Liguore’s dismay, the Domain appeared as the first online
23
21    information when any person searched Microsoft Bing for Mr. Liguore’s name, and
24
22    as the fourth online listing when any person searched his name on Google.
25
23
26
         18. On November 16, 2023, Mr. Liguore filed a police report with the Pleasanton
24
27    Police Department under case #2023-00035309 and Detective Furphy was assigned.
25
28       19. On November 18, 2023, Mr. Liguore filed a request with Google to remove the
26    domain name and website from search results relating to his name, because it was
27    using his name and information without his knowledge or consent. Google agreed
28    with Mr. Liguore’s request, and that the website and Domain were violating his

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 11   rights, resulting in the website being removed from the search results connected to his
 2
 2    name.
 3
 3       20. On November 28, 2023, Detective Furphy with the Pleasanton Police
 4
 4    Department was able to communicate and convince the Domain registrar and
 5
 56   webhost -- Wix.com, Ltd. -- to take the website down and cease domain services.
 67      21. On December 6, 2023, in response to a police warrant, Wix.com, Ltd.
 78   identified the owner and creator of the Domain <coryliguore.com> as the Defendant
 89   KENDALL SIMMONS, from Villa Park, Illinois.
10
 9       22. On December 20, 2023, the Defendants then launched another website,
11
10    publishing more information than had been published previously from Mr. Liguore’s
12
11    resume, publishing the same intimate screenshot content from Mr. Liguore’s long-
13
12    ago deleted Fuzz account, and publishing accessible links to all of Mr. Liguore’s
14
13    personal social media accounts.
15
14
16
         23. On December 21, 2023, Sargent Krupp from the Villa Park Police Department
15
17    was assigned to the case in Illinois. However, information revealed later that the
16
18    Defendant SIMMONS did not live in Villa Park Police Department jurisdiction and
17
19    the case was reassigned to the DuPage County Sheriff’s Office.
20
18       24. On January 3, 2024, Detective Kenny from the DuPage Sheriff’s Office
21
19    opened the case #SOP24000283. Detective Kenny informed Mr. Liguore that the
22
20    case was pursuable as disorderly conduct under 720 Ill. Comp. Stat. Ann. 5/26-1.
23
21    However, their District Attorney’s office was not willing to pursue the case any
24
22    further. Detective Kenny said the DuPage Sherriff’s Department would cooperate and
25
23
26
      interview the Defendant SIMMONS if the California District Attorney’s Office
24
27    and/or Police Department elected to pursue any criminal charges. However, the
25
28    California Police Department and District Attorney’s Office were not willing to
26    pursue any criminal investigation or charges, and consequently the criminal cases
27    were all closed.
28

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 11      25. On January 9, 2024, Mr. Liguore filed a request with Microsoft Bing to
 2
 2    remove the Domain website from search results relating to his name, because it was
 3
 3    using his name and information without his knowledge or consent. Microsoft Bing
 4
 4    agreed with Mr. Liguore’s request, finding that the website and Domain were
 5
 56   violating his rights, and resulting in the website being removed from the Bing search
 67   results connected to his name.
 78      26. On January 9, 2024, Mr. Liguore went to the District Attorney to meet
 89   Inspector Cassandra Pickett and plead for help to get the Police Departments to
10
 9    pursue charges for the alleged crimes committed against him.
11
10       27. In January of 2024, Mr. Liguore changed and updated all his social media
12
11    accounts and usernames, including but not limited to Facebook, Instagram, and
13
12    Twitter, so as not to be connected to any websites operated by the Defendants.
14
13    However, the Defendants persisted in finding and publishing Mr. Liguore’s updated
15
14
16
      social media accounts and usernames on the Domain and associated website. The
15
17    Defendants added Mr. Liguore’s updated resume information and statements
16
18    pertaining to Mr. Liguore’s current search for new employment and shared that
17
19    information on the website as well.
20
18       28. On January 31, 2024, Inspector Pickett recommended to Mr. Liguore to reach
21
19    out to the Federal Bureau of Investigations to file a Complaint for an Internet Crime.
22
20    Inspector Pickett shared the Complaint form filing link to Mr. Liguore, which Mr.
23
21    Liguore promptly filled out and submitted.
24
22       29. To date, no information, update, or response to Mr. Liguore’s Complaint filed
25
23
26
      with the Federal Bureau of Investigations has been received.
24
27                                           CLAIMS
25
28                                          COUNT ONE
26             Cyberpiracy Protection for Individuals (15 U.S.C. § 8131(1)(A))
27       30. The allegations and claims set forth in all prior paragraphs are re-alleged and
28    incorporated herein by reference.

                                             7                       Plaintiff’s Complaint &
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 11      31. Defendants intentionally registered the Domain so as to be identical to the
 2
 2    Plaintiff’s full name.
 3
 3       32. Plaintiff has never provided authorization to any of the Defendants to use the
 4
 4    Plaintiff’s name or identity on the Defendants’ websites, within the Domain, or in
 5
 56   any other capacity.
 67      33. Defendants have persisted to re-create websites at the Domain despite the
 78   removal from Google and Microsoft Bing, in an ongoing and egregious effort to
 89   harass the Plaintiff and cause economic and emotional suffering, including but not
10
 9    limited to, the loss of employment.
11
10       34. Defendants have intentionally targeted the Plaintiff so as to gain financial
12
11    benefit from the sale of the Domain to the Plaintiff and/or to otherwise financially
13
12    benefit themselves.
14
13       35. As a direct and proximate result, Plaintiff has suffered extensive and
15
14
16
      irreparable harm, including without limitation great economic expense and stress, and
15
17    severe emotional and physical harm as a result of the Defendants’ targeted abuse of
16
18    Plaintiff’s identity, likeness and private information.
17
19                                          COUNT TWO
20
18                       Cyber Piracy (Cal. Bus. & Prof. Code § 17525)
21
19       36. The allegations and claims set forth in all prior paragraphs are re-alleged and
22
20    incorporated herein by reference.
23
21       37. Defendants intentionally registered the Domain so as to be identical to the
24
22    Plaintiff’s full name.
25
23
26
         38. Defendants registered the Domain, using the Plaintiff’s full name, for the
24
27    purpose of luring internet visitors attempting to reach and/or find information about
25
28    Plaintiff, to the intimate content containing the Plaintiff’s name and likeness, without
26    the Plaintiff’s consent or notice.
27       39. Defendants knowingly and intentionally misrepresent their identifies as the
28    true owners and creators of the Domain, associated website and/or their true

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 11   locations, by using the Plaintiff’s name and personal information within publicly
 2
 2    available information.
 3
 3         40. Plaintiff has never provided authorization to any of the Defendants to use the
 4
 4    Plaintiff’s information or likeness on the Defendants’ websites, within the Domain,
 5
 56   or in any other capacity.
 67        41. Defendants purposefully created and uploaded intimate images onto their
 78   websites, in order to harm the Plaintiff’s career and reputation, without regard to the
 89   Plaintiff’s economic stability or professional standing.
10
 9         42. As a direct and proximate result, Plaintiff has suffered extensive and
11
10    irreparable harm, including without limitation great economic expense and stress, and
12
11    severe emotional and physical harm as a result of the Defendants’ targeted abuse of
13
12    Plaintiff’s identity, likeness and private information.
14
13                                        COUNT THREE
15
14
16
                            Civil Harassment (Cal. Civ. Code § 1708.7)
15
17         43. The allegations and claims set forth in all prior paragraphs are re-alleged and
16
18    incorporated herein by reference.
17
19         44. Defendants have engaged in a repeated and insistent pattern of creating the
20
18    Domain and associated websites wherein the Defendants intentionally have used the
21
19    Plaintiff’s name, likeness and intimate media to harm the Plaintiff. Any reasonable
22
20    person would feel that such targeted conduct was intentionally harassing.
23
21         45. Plaintiff reasonably fears for his personal safety, and/or that of his immediate
24
22    family, given the Defendants’ persistent campaign of investigation and harassment
25
23
26
      targeting Plaintiff. Any reasonable person would feel the same.
24
27         46. Plaintiff has suffered severe and extreme emotional distress from the discovery
25
28    of the Domain and the websites’ content, resulting in the loss of employment which
26    cited the Domain and website content as the justification for his termination.
27    //
28    //

                                               9                        Plaintiff’s Complaint &
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 11                                       COUNT FOUR
 2
 2            Disorderly Conduct – Cyber Exploitation (Cal. Penal Code § 647)
 3
 3       47. The allegations and claims set forth in all prior paragraphs are re-alleged and
 4
 4    incorporated herein by reference.
 5
 56      48. Defendants knowingly and intentionally registered the Domain so as to be
 67   identical to the Plaintiff’s full name without the Plaintiff’s notice or consent to
 78   distribute screenshots and screen recordings of the Plaintiff from the Fuzz
 89   Application, which was described and designed to be a secure application on which
10
 9    no media or information could be recorded or saved to users’ personal devices.
11
10       49. Defendants persisted to deleting the Domain and content after the first version
12
11    of the Domain was removed from the search results on Google, to then create a new
13
12    version of the Domain under <coryliguore.com>, using the Plaintiff’s name again and
14
13    sharing screenshots of the same intimate videos and photos depicting the Plaintiff.
15
14
16
         50. Defendants purposefully used information from the Plaintiff’s LinkedIn
15
17    account and shared that information in conjunction with the intimate content so as to
16
18    convince online viewers of the authenticity of the Domain.
17
19       51. Plaintiff asserts that the Defendants knew or should have known that the
20
18    intimate and revealing content and media posted onto the Domain and website were
21
19    of a nature that would cause any person serious emotional distress if that person were
22
20    the subject of the media.
23
21       52. Defendants committed the aforementioned acts with the intention and goal of
24
22    causing the Plaintiff mental and physical harm and suffering, and irreparably
25
23
26
      damaging the Plaintiff’s economic stability and professional reputation.
24
27       53. Defendants created, maintained, and used the Domain with the intention of
25
28    exploiting the Plaintiff through cyber means, pursuant to Cal. Penal Code § 647, and
26    will continue to exploit and cause the Plaintiff suffering without action and order by
27    this Court.
28

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 11                                       COUNT FIVE
 2
 2                         Intentional Infliction of Emotional Distress
 3
 3       54. The allegations and claims set forth in all prior paragraphs are re-alleged and
 4
 4    incorporated herein by reference.
 5
 56      55. Defendants’ intentional and purposeful actions to violate numerous federal
 67   and California laws governing the Domain registration and website operations, and
 78   Plaintiff’s privacy, constitute outrageous conduct.
 89      56. Defendants knowingly and intentionally created the Domain to cause the
10
 9    Plaintiff to suffer severe emotional distress and economic loss by deliberately sharing
11
10    private media and explicit content which would normally be expected to cause the
12
11    subject of such media severe emotional distress.
13
12       57. Plaintiff has suffered severe emotional distress from the discovery of the
14
13    Domain and the associated website content, including without limitation from the
15
14
16
      loss of employment which cited the Domain and associated website content as the
15
17    primary justification for termination.
16
18       58. Defendants’ actions, the Domain, and/or Defendants’ websites are the
17
19    proximate and actual cause of the Plaintiff’s severe emotional distress as a result of
20
18    the outrageous content in creating the Domain and fraudulent websites targeting
21
19    Plaintiff’s reputation.
22
20       59. Defendants’ actions, domains, and/or websites have resulted in economic,
23
21    emotional and other damages which are irreparable and will continue without action
24
22    and order by the Court.
25
23
26
                                           COUNT SIX
24
27                          Negligent Infliction of Emotional Distress
25
28       60. The allegations and claims set forth in all prior paragraphs are re-alleged and
26    incorporated herein by reference.
27       61. Defendants have a duty under the aforementioned federal and state law claims,
28    breach of which constitute negligent failure of those duties.

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 11      62. Defendants’ actions in creating, supporting, and operating the Domain and/or
 2
 2    Defendants’ websites were the proximate and actual cause of the Plaintiff’s damages
 3
 3    alleged herein.
 4
 4       63. Defendants’ actions, domains, and/or websites resulting in economic,
 5
 56   emotional and other damages which are irreparable and will continue without action
 67   and order by the Court.
 78                                       COUNT SEVEN
 89               Unfair Competition (Cal. Bus. & Prof. Code § 17200 et seq.)
10
 9       64. The allegations and claims set forth in all prior paragraphs are re-alleged and
11
10    incorporated herein by reference.
12
11       65. As alleged in detail above, Defendants’ use of Plaintiff’s name, likeness and
13
12    intimate photos without authorization, constitutes unlawful, unfair, and/or fraudulent
14
13    business acts or practices within the meaning of California Business and Professions
15
14
16
      Code Section 17200 et seq.
15
17       66. Plaintiff has suffered injury in fact and has lost money or property as a result
16
18    of Defendants’ conduct in the form of damage to his reputation, loss of employment
17
19    and severe emotional distress and other actual damages.
20
18       67. As a direct and proximate result of Defendants’ wrongful acts as alleged in
21
19    this Complaint, the Plaintiff’s economical standing and professional career suffered
22
20    severely.
23
21       68. Unless restrained, Defendants will continue their acts and conduct set forth in
24
22    this Complaint, to Plaintiff’s great and irreparable injury, for which damages will not
25
23
26
      afford adequate relief. Plaintiff is therefore entitled to an injunction prohibiting
24
27    Defendants’ wrongful acts.
25
28       69. Defendants committed the wrongful acts willfully, intending to harm the
26    Plaintiff’s reputation and goodwill. Defendants’ conduct justifies an award of
27    exemplary damages.
28

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 11      70. Upon proof, Plaintiff is entitled to recover his costs, including attorneys’ fees,
 2
 2    under California Code of Civil Procedure Section 1021.5.
 3
 3                                   PRAYER FOR RELIEF
 4
 4          Plaintiff respectfully requests that this Court enter judgment in his favor on
 5
 56   each and every count set forth above and award him relief including, but not limited
 67   to, the following:
 78      1. A Preliminary Injunction and Permanent Injunction requiring Defendants to
 89   immediately cease and desist in future from any use of the Plaintiff’s name, likeness,
10
 9    or information in any domain names or websites, and requiring any third party
11
10    domain name registries, registrars and/or web hosting companies with control over
12
11    the Domain <coryliguore.com>, to disable that Domain and associated websites
13
12    containing Plaintiff’s name, likeness and/or intimate media;
14
13       2. Transfer of the Domain to Plaintiff;
15
14
16
         3. A finding awarding Plaintiff statutory and any other monetary compensation
15
17    for damages sustained by Defendants’ wrongful actions as alleged in this Complaint;
16
18       4. An award of Plaintiff’s reasonable attorneys’ fees and expenses, and costs of
17
19    this action; and,
20
18       5. Such other and further relief as the Court may deem just and proper.
21
19
22
20                                       JURY DEMAND
23
21          Plaintiffs respectfully request trial by jury as to all issues so triable.
24
22
25
23
26
      Dated: March 15, 2024                    RODENBAUGH LAW
24
27
25
28

26                                             Michael Rodenbaugh (SBN 179059)
27                                             Attorneys for Plaintiff CORY LIGUORE
28

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